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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

IN RE:                                                   CASE NO.: 14-26731-AJC

MICHAEL ANTHONY JONES,                                   CHAPTER 7
AKA MICHAEL JONES,
AKA MICHAEL A JONES,

DEBTOR.
_________________________________/

               NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

         WELLS FARGO BANK, NATIONAL ASSOCIATION AS TRUSTEE FOR OPTION

ONE MORTGAGE LOAN TRUST 2007-2, ASSET-BACKED CERTIFICATES, SERIES

2007-2, a secured creditor in the above-captioned proceeding, requests that all matters which

must be noticed to creditors, any creditors’ committees, and any other parties-in-interest pursuant

to Federal Rule of Bankruptcy Procedure 2002, whether sent by the Court, the Debtor, or any

other party in the case, be sent to the undersigned, and pursuant to Federal Rule of Bankruptcy

Procedure 2002(g), requests that the following be added to the Court’s master mailing list:

                                   Michael Gulisano, Esq.
                                  Van Ness Law Firm, PLC
                           1239 E. Newport Center Drive, Suite 110
                               Deerfield Beach, Florida 33442

Dated: August 5, 2014                     Respectfully submitted by,

                                          VAN NESS LAW FIRM, PLC
                                          1239 E. Newport Center Drive, Suite 110
                                          Deerfield Beach, Florida 33442
                                          Phone (954) 708-2328
                                          Fax (954) 571-4003

                                          /s/ Michael Gulisano
                                          Michael Gulisano, Esquire
                                          Florida Bar No.: 87573
                                          mgulisano@vanlawfl.com
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                             CERTIFICATE OF SERVICE

      I CERTIFY that a copy of the foregoing Notice of Appearance was served on August 5,
2014 by U.S. Mail or CM/ECF electronic filing on all parties in this action.

Dated: August 5, 2014                           /s/ Michael Gulisano
                                        Michael Gulisano, Esq.
                                        Florida Bar No.: 87573




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